Case 1:18-cv-23576-KMW Document 234 Entered on FLSD Docket 05/14/2020 Page 1 of 4



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                     Case No.: 1:18-cv-23576-KMW

  AM GRAND COURT LAKES LLC &
  AM 280 SIERRA DRIVE LLC,

          Plaintiffs,

  v.

  ROCKHILL INSURANCE COMPANY,

        Defendant.
  ______________________________________/

        PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                               ATTORNEYS’ FEES

       COMES NOW, the Plaintiffs, AM Grand Court Lakes and AM 280 Sierra Drive, by and through

  undersigned counsel and hereby state as follows in opposition to Defendant’s Motion for Attorneys’

  Fees [D.E. 233].

       1. On November 4, 2019, this Court held an Order to Show Cause Hearing [D.E. 138] during

          which the Court ordered that counsel for the Defendant be awarded attorneys’ fees and costs

          for her appearance at the hearing and for the filing of a motion and that counsel for the

          Defendant would put “together some type of voucher or however you wish to present it” and

          that same should be submitted to the Court and counsel for the Plaintiffs. [D.E. 232], page

          20, lines 10-18.

       2. However, while the Defendant filed a Declaration of Lauren D. Levy [D.E. 225], the

          Defendant failed to comply with Local Rule 7.3 and as such, the Defendant has waived its

          right to attorneys’ fees and costs.




                                                   1
Case 1:18-cv-23576-KMW Document 234 Entered on FLSD Docket 05/14/2020 Page 2 of 4



     3. Specifically, Local Rule 7.3(a) requires the motion for an award of attorneys’ fees and costs

         be filed and served within sixty (60) days of the order giving rise to the claim.

     4. This Court awarded the Defendant attorneys’ fees and costs on November 4, 2019. However,

         the Defendant failed to file its Motion until April 30, 2020, nearly six (6) months after this

         Court’s ruling.

     5. Moreover, the Defendant’s Motion [D.E. 233] fails to comply with Local Rule 7.3(5) in that

         it fails to set forth the qualifications of each timekeeper or a description of the tasks done

         during the hours claimed, neither of which are set forth in the Declaration of Lauren D. Levy

         [D.E. 225] which simply asserted the hourly rates being sought and the number of hours

         being claimed without any description of the work done and being claimed therein aside from

         stating that it is reflective of the time spent between November 1, 2019 through November 4,

         2019.

     6. The Motion [D.E. 233] also fails to comply with Local Rule 7.3(b) in that the Plaintiff was

         not provided with either the Declaration [D.E. 225] or the Motion [D.E. 233] thirty (30) days

         prior to the filing deadline.

     7. Moreover, at this point in time and considering that the claim for Plaintiffs’ attorneys’ fees

         and costs in association with the jury verdict and pending final judgment far exceeds the

         amount being claimed by the Defendant, the Court should determine whether a setoff of the

         amounts should apply.

                                 MEMORANDUM OF LAW

          “Local Rule 7.3 sets forth a number of necessary steps a party must complete prior to filing

   a motion for attorney’s fees.” Mistler v. Servis One, Inc., CASE No. 16-CV-60651-BLOOM, 2016

   U.S. Dist. LEXIS 169267, *3 (S.D. Fla. Dec. 6, 2016). For instance, Southern District Local Rule

   7.3(a) unambiguously states “[a] motion for an award of attorneys [sic] fees . . . shall: (1) be filed
                                                  2
Case 1:18-cv-23576-KMW Document 234 Entered on FLSD Docket 05/14/2020 Page 3 of 4



   within sixty (60) days of the entry of the final judgment or order giving rise to the claim.” Local

   Rule 7.3 also requires the party seeking fees to serve a draft motion thirty (30) days prior to filing

   the motion and to confer with the other party no later than twenty-one days (21) prior to filing the

   motion. See generally Local Rule 7.3(b). “Many parties have attempted to skirt Rule 7.3’s

   requirements in the past when seeking attorneys’ fees, yet there is no exception in the Local Rule

   that allows parties to bypass their obligations.” Irish v. Reynolds, Case No. 13-Civ-10063-KING,

   2018 U.S. Dist. LEXIS 4563, *9 (S.D. Fla. Jan. 9, 2018). The United States Court of Appeals for

   the Eleventh Circuit as well as this Court has therefore held that a violation of Local Rule 7.3 is a

   sufficient reason to deny a party’s motion for attorneys’ fees. See J.B. Hunt Transp., Inc. v. S & D

   Transp., Inc., 589 F. App’x 930, 933 (11th Cir. 2014); Norych v. Admiral Ins. Co., CASE NO. 08-

   60330- CIV-ALTONAGA, 2010 U.S. Dist. LEXIS 69793 (S.D. Fla. June 23, 2010); Cobra Int’l

   v. BCNY Int’l, Inc., CASE NO.:05-cv-61225-KAM, 2016 U.S. Dist. LEXIS 186861 (S.D. Fla.

   June 23, 2016); Caron v. NCL (Bah.) Ltd., Civil Action No. 16-23065-Civ-Scola, 2018 U.S. Dist.

   LEXIS 225939, *4 (S.D. Fla. Dec. 18, 2018). Because the Defendant failed to comply with the

   Local Rules as presented above, the Defendant’s claim for attorneys’ fees should be denied.

                                               CONCLUSION

     For the foregoing reasons, the Plaintiffs, AM Grand Court Lakes and AM 280 Sierra Drive,

  respectfully request that the Court deny Defendant’s Motion for Attorney’s Fees and Costs [D.E.

  233] due to the Defendant’s failure to comply with Local Rule 7.3. Alternatively, the Plaintiffs would

  request that this Court make a determination as to whether the amount of attorneys’ fees and costs

  being claimed by the Defendant should be off-set from the Plaintiffs’ claim for attorneys’ fees and

  costs stemming from the jury verdict and pending final judgment.




                                                     3
Case 1:18-cv-23576-KMW Document 234 Entered on FLSD Docket 05/14/2020 Page 4 of 4




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  delivered via the CM/ECF filing portal on May 14, 2020, on all counsel or parties of record on the

  Service List below.

                                              FONT & NELSON PLLC
                                              Attorneys for Plaintiffs
                                              200 S. Andrews Avenue, Suite 501
                                              Fort Lauderdale, FL 33301
                                              Tel: (954) 248-2920; Fax: (954) 248-2134
                                              Designated E-mail: pleadings@fontnelson.com
                                              Secondary E-mail: jmartin@fontnelson.com
                                              Tertiary E-mail: srandolph@fontnelson.com

                                              BY:       /s/
                                                        JOSE P. FONT, ESQ.
                                                        Florida Bar #: 0738719
                                                        SONYA P. RANDOLPH, ESQ.
                                                        Florida Bar # 1007710
                                                        JAIME MARTIN, ESQ.
                                                        Florida Bar #: 110616

                               SERVICE LIST
  Lauren D. Levy, Esq.
  lauren@levylawgroup.com
  Levy Law Group
  3399 Ponce De Leon Boulevard
  Suite 202
  Coral Gables, FL 33134
  Telephone: (305) 444-1500
  Facsimile: (305) 503-9295
  Attorney for Defendant

  Paula Levy, Esq.
  paula@levylawgroup.com
  Levy Law Group
  3399 Ponce De Leon Boulevard
  Suite 202
  Coral Gables, FL 33134
  Telephone: (305) 444-1500
  Facsimile: (305) 503-9295
  Attorney for Defendant
                                                    4
